1:20-cv-02788-JMC   Date Filed 11/15/21   Entry Number 25-5   Page 1 of 3




                      UNITED STATES DISTRICT COURT
                        DISTRICT OF SOUTH CAROLINA

 * * * * * * * * * * * * * * * *
 GARCIA WILSON                 *
                               *
 versus                        *                  Case No. 1:18-cv-50
                               *
 WARDEN WILLIE EAGLETON, et al.*                  July 11, 2019
                               *
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                REPORTER'S OFFICIAL TRANSCRIPT OF THE
                   MOTION HEARING HELD BEFORE THE
                     HONORABLE RICHARD M. GERGEL
                    UNITED STATES DISTRICT JUDGE
                            JULY 11, 2019
 Appearances:

 For the Plaintiff:                   Galvin Law Group, Inc.
                                      BY: Gregory Michael Galvin
                                      174 Sumter Square
                                      Bluffton, SC 29910
                                      843.227.2231
                                      Bell Legal Group
                                      BY: James Edward Bell III
                                      219 N. Ridge Street
                                      Georgetown, SC 29440
                                      843.546.2408
 For Defendant SCDC and               Lee, Erter, Wilson, James,
     the Wardens:                        Holler & Smith
                                      BY: David Cornwell Holler
                                      PO Box 580
                                      Sumter, SC 29151
                                      803.778.2471
 For Defendant Cory Lucas:            Aiken, Bridges, Nunn, Elliott
                                         and Tyler
                                      BY: Samuel F. Arthur III
                                      PO Drawer 1931
                                      Florence, SC 29503
                                      843.669.8787




                             EXHIBIT E p. 1
     1:20-cv-02788-JMC   Date Filed 11/15/21   Entry Number 25-5   Page 2 of 3
                                                                                  34




1     this in another case, Your Honor.
2                 THE COURT:     Yeah, I did.
3                 MR. GALVIN:      But his address, we need to take his
4     deposition.    I was going to take it with Mr. Bell to cut down
5     on the cost.
6                 THE COURT:     Y'all don't have a copy of the -- you
7     don't have a way to communicate with him?
8                 MR. GALVIN:      Well, what we were told was we were
9     provided with his email and his phone.
10                THE COURT:     No.    Listen, folks.      I'm tired of all
11    this officious behavior frankly.             I'm going to order by the end
12    of the day today Mr. Roth's mailing address be provided.                   This
13    is ridiculous, folks.        Professionals don't treat each other
14    this way.    We're hiding the ball here, making it difficult,
15    obstructionist behavior.
16                       I spend more time -- and it's not just me,
17    Mr. Holler.    I'm going to tell you, my colleagues are all
18    talking about the behavior of SCDC lawyers.              We're all talking
19    about it, is -- we're taking it up tomorrow in our judge's
20    meeting.    This is ridiculous.          I spend more time on these cases
21    than I spend on all other discovery disputes on my entire
22    docket.
23                       You need to tell those folks at SCDC that we're
24    going to start issuing sanctions.             I'm tired of this.
25                       Now, you know, I practiced law for 31 years.               I




                                  EXHIBIT E p. 2
     1:20-cv-02788-JMC    Date Filed 11/15/21    Entry Number 25-5     Page 3 of 3
                                                                                     35




1     never had anyone deny me a way to communicate with an expert.
2     Never did I have anyone do that, and an email address and a guy
3     won't respond, give him -- end of the day, I want him to have
4     his mailing address.
5                        Okay.    What's next?
6                 MR. GALVIN:       Thank you.       Your Honor.       With regard to
7     Roth, you asked for all the records that he relied upon.
8     Mr. Holler stated that he thought he went prison to prison, but
9     he hadn't talked to him, and he wasn't really sure what he
10    relied upon, but he hadn't talked to him and he didn't know
11    what he had.       And I just -- we've got this report.
12                THE COURT:      Have you deposed -- you haven't deposed
13    Mr. Roth obviously.
14                MR. GALVIN:       Can't.
15                THE COURT:      Send him a subpoena with all that
16    information with a return date ten days before your deposition.
17                MR. GALVIN:       Okay.       Thank you, Your Honor.
18                THE COURT:      Okay.     And if you have a problem, let me
19    know before you go up there.
20                MR. GALVIN:       Okay.
21                THE COURT:      And I'll order it.         Okay.
22                MR. GALVIN:       Thank you, Your Honor.
23                       Okay.    The -- let's see here.             So we've got --
24    got that.
25                THE COURT:      You know, you do a subpoena duces tecum




                                   EXHIBIT E p. 3
